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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:
                                                          Chapter 11
                                      1
 Lordstown Motors Corp, et al.,
                                                          Case No. 23-10831 (MFW)
                           Debtors.
                                                          (Jointly Administered)

                                                          Re: Docket No. 853



       CERTIFICATE OF NO OBJECTION REGARDING FIFTH MONTHLY
      APPLICATION OF SILVERMAN CONSULTING FOR ALLOWANCE OF
       COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE
   PERIOD FROM NOVEMBER 1, 2023 TO AND INCLUDING NOVEMBER 30, 2023

          The undersigned hereby certifies that, as of the date hereof, they have received no answer,

objection, or other responsive pleading with respect to the fifth monthly fee application for

compensation and reimbursement of expenses (the “Monthly Application”) of Silverman

Consulting (“Applicant”) listed on Exhibit A attached hereto. The Monthly Application was filed

with the United States Bankruptcy Court for the District of Delaware (the “Court”) on November

20, 2023. The undersigned further certifies that they have reviewed the Court’s docket in this case

and no answer, objection or other responsive pleading to the Monthly Application appears thereon.

Pursuant to the Notice of Fee Application filed with the Monthly Application, objections to the

Monthly Application were to be filed and served no later than January 10, 2024 at 4:00 p.m. (ET).

The Monthly Application was filed and served in accordance with the Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses for Chapter 11




          1
           The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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Professionals and Committee Members, entered July 25, 2023 [D.I. 181] (the “Interim

Compensation Order”).

       Consequently, pursuant to the Interim Compensation Order, the debtors and debtors in

possession in the above-captioned cases are authorized to pay Applicant eighty percent (80%) of

the fees and one hundred percent (100%) of the expenses requested in the Monthly Application

upon the filing of this certification without the need for a further order of the Court. A summary

of the fees and expenses sought by Applicant is annexed hereto as Exhibit A.

Dated: January 11, 2024
Wilmington, Delaware

Respectfully submitted,

 /s/ Morgan L. Patterson
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                                                          EXHIBIT A

                                                  Professional Fees and Expenses
                                                     Monthly Fee Application

    Applicant         Fee Application    Total Fees      Total        Objection      Amount of    Amount of       Amount of
                       Period, Filing    Requested     Expenses       Deadline:          Fees      Expenses      Holdback Fees
                         Date, D.I.                    Requested                     Authorized Authorized        Requested
                                                                                      to be Paid to be Paid at
                                                                                       @ 80%         100%
    Silverman               11/1/23 –    $201,120.50   $5,793.83       1/10/24       $160,896.40   $5,793.83      $40,224.10
    Consulting              11/30/23
                            D.I. 853




WBD (US) 4857-5897-6155v1
